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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CHRISTOPHER MOEHRL, MICHAEL     )
COLE, STEVE DARNELL,            )
JACK RAMEY, DANIEL              )
UMPA, and JANE RUH, on behalf of)
themselves and all others similarly situated,
                                )
                                )
       Plaintiffs,              )
                                )                    Case No: 1:19-cv-01610
                                )
                                )
v.                              )                    Judge Andrea Wood
                                )
THE NATIONAL ASSOCIATION OF     )
REALTORS, REALOGY HOLDINGS      )
CORP., HOMESERVICES OF AMERICA, )
INC., BHH AFFILIATES, LLC, HSF  )
AFFILIATES, LLC, THE LONG &     )
FOSTER COMPANIES, INC.,         )
RE/MAX LLC, and KELLER          )
WILLIAMS REALTY, INC.,          )
                                )
       Defendants.              )

                                   JOINT STATUS REPORT

        Pursuant to the Court’s Order (Docket No. 339), Plaintiffs Christopher Moehrl, Michael
Cole, Steve Darnell, Jack Ramey, Daniel Umpa, and Jane Ruh, on behalf of themselves and all
others similarly situated (“Plaintiffs”), and Defendants The National Association of Realtors®,
Realogy Holdings Corp., HomeServices of America, Inc., BHH Affiliates, LLC, HSF Affiliates,
LLC, The Long & Foster Companies, Inc. (collectively, “HomeServices”), RE/MAX LLC
(“RMLLC”), and Keller Williams Realty, Inc. (“Defendants”), (collectively, the “Parties”),
respectfully submit this Joint Status Report setting forth the current status of discovery.

1.       DISCOVERY STATUS

       Fact discovery is nearing completion. Both Defendants and Plaintiffs have substantially
completed their supplemental and refresh productions of documents. The parties are in the process
of scheduling the remaining depositions of party and third-party witnesses. The parties anticipate
meeting the current October 6, 2022 deadline for the close of fact discovery, apart from an agreed-
upon extension of three weeks, through October 27, for the completion of certain depositions,
which is discussed in more detail below.
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2.       LIMITED EXTENSION FOR SCHEDULING OF DEPOSITIONS

        The parties are continuing to work to schedule the depositions of certain Defendant and
third-party witnesses. To address scheduling conflicts, Plaintiffs and Keller Williams have agreed
that the 30(b)(6) deposition of Keller Williams’s designated representative will occur on
November 15, 2022. The parties jointly request leave to take the deposition on that date.

        The parties have also agreed upon the following parameters: 1) in addition to already
noticed depositions, plaintiffs will only notice up to five more additional depositions of parties and
related entities (including subsidiaries, franchisees, and persons associated therewith), and no more
than two depositions per Defendant family, with Plaintiffs providing notice by September 14th; 2)
the parties will provide notice of all remaining third party depositions by September 28th; 3) the
parties anticipate completing all remaining depositions (apart from the Keller Williams 30(b)(6))
by October 27th and apart from supplemental depositions of Plaintiffs’ experts if permitted by the
Court after reviewing the discussion in Point 4). The parties jointly request leave of the Court to
amend the schedule accordingly. 1

3.       UPDATED DISCOVERY STIPULATION

       Plaintiffs and Defendants have prepared a joint discovery stipulation and order reflecting
both the Parties’ prior agreements about certain discovery issues as well as certain orders of the
Court on previously disputed issues. The parties will submit the stipulation for approval.

4.       SUPPLEMENTAL DEPOSITIONS OF PLAINTIFF EXPERTS

        Defendants have requested supplemental depositions of Plaintiff experts based on the
rebuttal reports that Plaintiff experts submitted. The parties have met and conferred on this issue
and have been unable to reach agreement. The parties’ respective positions are set out below.

         Plaintiffs’ Position

       Defendants were entitled under the Federal Rules of Civil Procedure to conduct a single
deposition of up to 7 hours of each of Plaintiffs’ experts. Instead, Defendants demanded an
exception to those rules so that they could depose each expert for 9 hours across two days. Now
Defendants demand at this late stage yet another exception to the Federal Rules: they want an
additional 7 hours of deposition testimony from each expert—for a total 32 hours of expert
deposition questioning solely at the class certification stage. (By contrast, Plaintiffs have only
been permitted 9 hours to depose Defendants’ expert.)

        Defendants fail to identify any good cause that would justify such an extreme request. This
is particularly so given that, at minimum, Defendants will have the opportunity to examine
Plaintiffs’ experts again at the merits and at trial. See Presidio Components, Inc. v. Am. Tech.
Ceramics Corp., No. CIV 08CV335 IEG NLS, 2009 WL 861733, at *5 (S.D. Cal. Mar. 25, 2009)



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 The HomeServices Defendants and Plaintiffs are in discussions with respect to certain deposition issues that they
are hopeful about resolving but that could require the assistance of the Court.


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(“In seeking leave from the Court to depose Dr. Ewell again, ATC has not demonstrated that the
benefit of subjecting Dr. Ewell to a second deposition would outweigh the burden and expense.”).

       The Court first entered a case schedule for class certification on November 7, 2020.
(Docket No 196). The schedule has subsequently been modified by the Court several times, but it
has always provided for Plaintiffs to file expert rebuttal reports in support of their class certification
reply. Until a week ago, Defendants had never sought, or even raised the possibility of two
depositions of Plaintiffs’ experts—one after their opening reports and another after their rebuttal.

         In that time Defendants specifically sought modifications to the case schedule asserting
and representing to the Court it would provide them with sufficient time to depose Plaintiffs’
experts and incorporate the testimony into Defendants’ class certification brief and Daubert
motion. (Dkt. 309). The Court granted Defendants’ request. At no point during this process did
Defendants raise the prospect of taking multiple depositions of Plaintiffs experts, or raise to the
Court that they intended to seek both additional time for the first deposition of Plaintiffs’ experts
and a second seven-hour deposition for rebuttal reports that Plaintiffs would file. They asked for
nine hours over two days, not sixteen hours over three days, despite being on notice of the detailed
analysis that Plaintiffs’ experts had provided in their opening reports. Defendants could also have
chosen to request a single enlarged deposition after the Rebuttal Reports were filed, but did not do
so. Cf. In re Sulfuric Acid Antitrust Litig., 230 F.R.D. 527, 531 (N.D. Ill. 2005) (noting as a general
matter that under FRCP 30(a)(2)(A)(ii), a party must obtain leave of the court before seeking a
second deposition of a witness).

        Defendants then waited another four months before requesting second, full-length
depositions of both Professor Elhauge and Professor Economides on September 1, 2022. Courts in
this district have routinely rejected similar requests for supplemental depositions of experts. They
have done so even when defendants have identified specific reasons for seeking supplemental
depositions. See La Playita Cicero, Inc. v. Town of Cicero, Illinois, No. 11-CV-1702, 2017 WL
1151066, at *6 (N.D. Ill. Mar. 28, 2017) (rejecting request for supplemental deposition of expert
based on supplemental report submitted after the close of discovery because “[t]he Court is
unpersuaded that the admission of Green’s supplement and declaration warrants
a second deposition of Green.”); Sutton v. Wexford Health Sources, Inc., No. 10 C 8137, 2014 WL
551546, at *6 (N.D. Ill. Feb. 12, 2014) (rejecting Defendants’ attempt to take a second deposition
based on instructions not to answer certain questions related to attorney-expert communications
because “Defendants fail to explain why a second deposition of Dr. Shakoor is necessary.”).

        Defendants here do not even do that much. They have identified no specific circumstances
that support their abrupt request for supplemental depositions that has never, until this point, been
contemplated by the parties, the Court, or the experts as part of the schedule in this case.
Defendants’ primary argument for 14 more hours of deposition appears to be the length of pages
in the expert reports of Professor Elhauge and Professor Economides, emphasizing that the two
reports – in total – run approximately 250 pages. That argument is a red herring. Plaintiffs’ Rebuttal
Reports offer no new affirmative opinions and do not change Plaintiffs’ experts’ opinions.
Plaintiffs’ experts’ reports are confined to the traditional subject matter of rebuttal reports:
responding in detail to the opinions offered in Defendants’ expert’s report. Defendants already had
the opportunity to depose Plaintiffs’ experts about the opinions they are offering. In fact, they used
almost every available minute on the record to do so. Notably, Defendants did not obtain any


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supplemental depositions of Plaintiffs’ expert at class certification in the Burnett case despite that
expert (as here) submitting a rebuttal report responding to Defendants’ expert. Their inconsistent
acts belie their argument that second depositions are necessary. They are simply seeking another
bite at the apple.

        Rather than identify any new affirmative opinions that either Plaintiff expert offers in their
reports that would warrant a supplemental deposition, Defendants repeatedly resort to
generalizations. Defendants state that Plaintiff experts attempted to clarify or correct their
opinions, but do not identify a single actual (or even attempted) example of where Plaintiff experts
clarified or corrected their original opinions. Defendants also vaguely claim they are unable to
fully describe the new arguments offered in the rebuttal reports in a public filing since they were
designated as highly confidential. But Plaintiffs designated the reports as highly confidential
because they rely on Defendants’ information. Defendants are free to share that information if they
wish. In fact, Plaintiffs have already proposed to Defendants that the entire rebuttal reports be
publicly filed. No genuine concern about confidentiality is preventing Defendants from being able
to identify the new opinions purportedly offered in the reports. They simply do not and cannot cite
new opinions.

        Defendants briefly discuss that Plaintiff’ experts responded to additional international
benchmarks identified by Dr. Stiroh as potential candidates. But the same potential international
benchmarks (both the ones included and excluded from Professor Economides’ yardstick analysis)
were each affirmatively discussed in Professor Economides’ Opening Report, Dr. Stiroh’s
Opposition Report, and Professor Economides’ Rebuttal Report. And Defendants already had the
chance to depose Professor Economides on those exclusions. Indeed, their Daubert motion
specifically quotes from their questioning of Professor Economides regarding his exclusion of
Germany as a yardstick. (Dkt. 309 at 21, fn. 88). Defendants have not identified any specific
additional countries discussed in Professor Economides’ Rebuttal Report. And it is obvious and
undisputed that Professor Economides did not add any new countries to his yardstick analysis for
purposes of the Rebuttal Report. Both the Opening Report and Rebuttal Report contain the same
three yardstick countries for purposes of Professor Economides’ affirmative opinions.

        Defendants have also offered a few isolated examples of analyses that Plaintiff experts
specifically performed in rebuttal to analyses or opinions offered by Dr. Stiroh. 2 Defendants
mention that Professor Elhauge analyzed the frequency of commission rates in the Covered MLSs.
But this was specifically in response to arguments that Defendants advanced in both their motion
and opposition report about the frequency at which certain commission rates were charged.
Professor Elhauge’s analysis was, in essence, a different graphical depiction of the same
underlying commission data. Defendants mention an analysis that Professor Economides
performed of the relationship between home prices and commission rates. But, again, this limited,
empirical analysis was specifically in response to speculation by Dr. Stiroh about a potential
relationship between home prices and commission rates (which Dr. Stiroh chose not to empirically



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  The parties exchanged initial drafts of their portions on this issue on the afternoon of September 8th. Plaintiffs respond
to the analyses that Defendants identified in that initial draft. Plaintiffs do not have the opportunity to respond to any
additional analyses that Defendants identify in subsequently preparing their final draft of their respective portion of
the joint statement.


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test). Professor Economides’ empirical analysis showed that there was no meaningful economic
relationship between home prices and commission rates.

         Defendants also do not attempt to explain what specific aspects of these analyses make it
necessary for Defendants to take full-length depositions of both Plaintiffs’ experts. Instead,
Defendants’ real argument is that the mere act of offering a detailed rebuttal report entitles them
to a second deposition, regardless of the circumstances. But Defendants’ own cited cases do not
support this position. In Smith v. City of Chicago, the Court allowed a second, ninety minute
deposition based on the party’s contention that the expert had made misrepresentations about his
methodology, and referenced documents at his first deposition that had been specifically requested
by the deposing party prior to the deposition but not yet produced. Smith v. City of Chicago, No.
15-CV-03467, 2019 WL 4825232, at *6 (N.D. Ill. Oct. 1, 2019). Defendants have not identified
any misrepresentations by Plaintiffs’ experts or any deficiencies in document production that
would support a second deposition. In 94,594 Acres of Land, the Court authorized a rebuttal
deposition where the deposing party had “convincingly explain[ed] that the…rebuttal report is
likely to be significantly different from his case-in-chief report, and affirmatively states that it does
not intend to use its second deposition to ask Mr. Godfrey about his case-in-chief report.” United
States v. 94.594 Acres of Land, More or Less, Situated in Bernalillo Cnty., New Mexico, No. CV
18-877 JAP/KK, 2020 WL 1189385, at *2 (D.N.M. Mar. 12, 2020). Here, Defendants have not
explained how the rebuttal reports are significantly different, have failed to identify a single new
affirmative opinion offered by either Plaintiff expert, and have not committed to not ask at the
rebuttal depositions about the case-in-chief report (nor have they even explained how such a
restriction would be workable since Professor Elhauge and Professor Economides have not offered
any new affirmative opinions). In DRAM, the Court concluded that a limited supplemental
deposition, at the merits stage, was appropriate where the rebuttal report contained “new
conclusions as to the amount of damages.” In re Dynamic Random Access Memory (DRAM)
Antitrust Litig., No. M-02-1486 PJHJCS, 2006 WL 3462580, at *1 (N.D. Cal. Nov. 29, 2006).
Defendants have not identified new conclusions by either Professor Elhauge or Professor
Economides on any of the opinions that they offer.

         Defendants also make general cites to certain Seventh Circuit cases. But in Am. Honda,
the Seventh Circuit simply stated that district courts must conclusively rule on Daubert motions
“when an expert’s report is critical to class certification.” Am. Honda Motor Co. v. Allen, 600 F.3d
813, 815–16 (7th Cir. 2010). And in Szabo, the Seventh Circuit stated that “Before deciding
whether to allow a case to proceed as a class action, therefore, a judge should make whatever
factual and legal inquiries are necessary under Rule 23.” Szabo v. Bridgeport Machines, Inc., 249
F.3d 672, 675–76 (7th Cir. 2001). Defendants have failed to cite any case permitting a second
deposition simply because an expert submitted a rebuttal report consistent with a Court’s schedule
or identify any way that a second deposition is required under the standards for class certification
set forth by the Seventh Circuit.

         Furthermore, Defendants specifically justified their demand for additional time for the
initial depositions of Plaintiffs’ experts because it would allow them to fully examine them before
filing their class certification opposition and Daubert motions. (Dkt. 309). By contrast,
Defendants’ demand for second depositions here does not make sense within the context of the
agreed upon class certification schedule and is not tied to any scheduled briefing. The class
certification schedule will conclude when Defendants file the Reply in Support of their Motion to


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Exclude on September 22, 2022. (Dkt No. 310). Yet Defendants have proposed dates for the expert
depositions in mid to late October, well after the class certification briefing schedule is entirely
completed. Therefore, Defendants’ supplemental depositions have no purpose within the context
of the class certification briefing schedule because Defendants will be unable to use the
supplemental depositions for the purpose of preparing the reply brief in support of their motion to
exclude

        Defendants have vaguely gestured that they may need the depositions for usage at a
hypothetical future class certification hearing. But the Court has not yet set a class certification
hearing or the format of the class certification hearing. Nor have Defendants specified why the
possibility of a class certification hearing, in itself, creates a substantial need for Defendants to
take 14 hours of additional depositions of Plaintiffs’ experts. Indeed, to the extent the class
certification hearing includes testimony from experts, Defendants will have a chance to cross-
examine Plaintiffs’ experts at that hearing. Defendants have cursorily asserted that they will be
prejudiced but failed to identify any specific reason why they actually would be prejudiced.

        Defendants, in short, do not offer any persuasive reason they should be able to depose
Plaintiffs’ experts again about opinions they already asked about. On the other side, Plaintiffs and
Plaintiffs’ Experts would face a significant burden and be highly prejudiced if forced to prepare
for a second deposition. Plaintiffs expect, based on preparations for the original deposition, that
preparations for a second deposition would require hundreds of hours collectively of attorney and
expert time, especially in light of the fact that Defendants are requesting full-day depositions of
both experts without any limits on the scope of questioning. Defendants cannot justify imposing
this burden on Plaintiffs and their experts simply by citing the length of Plaintiffs’ expert rebuttal
reports and vaguely referencing (but not identifying) new opinions being offered.

        Because supplemental depositions of Plaintiffs’ experts would be burdensome, costly, and
unnecessary within the context of the agreed-upon schedule and Defendants have failed to
articulate any detailed explanation for why there is a substantial need for this deposition, their
request should be denied. See Medicines Co. v. Mylan Inc., No. 11-CV-1285, 2013 WL 2926944,
at *5 (N.D. Ill. June 13, 2013) (rejecting request for supplemental deposition related to the extent
to which Plaintiffs’ expert report was copied from expert reports in related litigation because the
deposing Party “had ample time and opportunity to question Dr. Regnier regarding his report and
the opinions therein” at the initial deposition.). To the extent that the Court authorizes a second
deposition of Plaintiffs’ Experts, Plaintiffs request that it be specifically limited to an appropriate,
limited length of time on any new affirmative opinions that Defendants can specifically identify
in the Rebuttal Reports. 3

         Defendants’ Position

      Defendants want to depose Plaintiffs’ class certification experts, Professors Einer Elhauge
and Nicholas Economides, regarding their extensive rebuttal expert reports. In early March,

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  See Plunk v. Vill. of Elwood, Ill., No. 07 C 88, 2009 WL 1444436, at *4-5 (N.D. Ill. May 20, 2009) (Due to discovery
deficiencies by one of the parties, the court found good cause for a second deposition of plaintiffs’ expert, but held
that it must be a “short deposition” limited to the new findings in the expert’s supplemental report that were not
included in his opening report and reimbursing the defending party for the costs associated with the second deposition.)



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Elhauge filed a 265 page corrected opening report while Economides filed a 123 page corrected
opening report. Defendants deposed these individuals in May of 2022 regarding their opening
expert reports:

        On August 22, 2022, Plaintiffs filed their reply memorandum in support of their motion
for class certification. That memorandum was accompanied by a 175 page additional report from
Elhauge and a 69 page additional report from Economides. Plaintiffs contend that Defendants
waited too long to request supplemental depositions, that there is nothing new in the
supplemental reports, and that Defendants have offered no reason to permit supplemental
depositions. There is absolutely no basis for these contentions.

        To begin, Defendants did not receive the rebuttal reports until late August. We needed to
study them to determine if there was a need to take follow up depositions. All of this was
occurring while numerous depositions were taking place. In the circumstances, waiting until
September 1 to request supplemental depositions is hardly undue delay.

        Second, if there is nothing new in these nearly 250 pages of rebuttal reports, why did
plaintiffs even file them? More fundamentally, contrary to Plaintiffs’ assertions, Defendants
have offered persuasive reasons for the need for supplemental depositions. Specifically, the
rebuttal reports introduce new arguments, new analyses, and new materials on which the experts
have not been deposed. For example, Elhauge performed additional calculations relating to
commission rates in transactions through each covered MLS. Economides reviewed commission
rate data produced by Defendants and performed a regression analysis to opine about whether
commission rates vary as home prices change

         The rebuttal reports made several other points that were not covered in the initial reports.
However, since these reports were designated as “highly confidential”, Defendants do not believe
that we are at liberty to identify these points in this publicly filed Joint Status Report. What we
can say here is that the supplemental reports analyzed additional countries discussed in
Defendants’ expert report, expanding on the analysis in their initial reports. Moreover, both experts
responded at length to the criticisms of their reports raised by Defendants’ expert and attempted to
clarify or correct their opinions in response. Thus, their “rebuttal” reports are not simply rebuttal;
rather, they add and expand on their initial opinions and analysis.

       Plaintiffs’ argument that supplemental depositions are unnecessary because Defendants
will have the opportunity to examine Plaintiffs experts at the merits and at trial is
unpersuasive. Examining an expert on new material in a court hearing is fundamentally different
from taking a deposition. One of the basic purposes of depositions is to enable the party taking
the deposition to effectively cross-examine witnesses at trial or in other court-room proceedings.
A decision not to permit supplemental depositions would undermine that purpose.

        This Court has broad discretion to grant additional time for expert depositions when an
expert’s opinion changes or new information is provided after the first deposition. See, e.g., Smith
v. City of Chicago, No. 15-CV-03467, 2019 WL 4825232, at *6 (N.D. Ill. Oct. 1, 2019) (court
granted request for second deposition regarding information produced after first deposition).
Indeed, an opposing party “is clearly entitled to depose [the expert] about both” initial and rebuttal
reports. United States v. 94.594 Acres of Land, More or Less, Situated in Bernalillo Cnty., New


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Mexico, No. CV 18-877 JAP/KK, 2020 WL 1189385, at *2 (D.N.M. Mar. 12, 2020) (allowing
plaintiff to depose defendant’s expert about both his initial and his rebuttal report) (emphasis
added). Permitting a deposition on an expert’s rebuttal report is the “fair result” because
“Defendants should not have to proceed to trial without a brief deposition on this new report.” In
re Dynamic Random Access Memory (DRAM) Antitrust Litig., No. M-02-1486 PJHJCS, 2006 WL
3462580, at *1 (N.D. Cal. Nov. 29, 2006) (permitting four-hour deposition regarding expert’s
rebuttal report) (emphasis added).

        Deposing experts regarding rebuttal reports is of particular importance at the class
certification stage. The Court “must conclusively rule on any challenge to the expert's
qualifications or submissions prior to ruling on a class certification motion.” Am. Honda Motor
Co. v. Allen, 600 F.3d 813, 815–16 (7th Cir. 2010); see also Szabo v. Bridgeport Machs., Inc., 249
F.3d 672, 676 (7th Cir. 2001) (a district court must make whatever factual and legal inquiries are
necessary to ensure that Rule 23 requirements are met). Defendants are entitled to an opportunity
to test the new opinions contained in Plaintiffs’ rebuttal expert reports in depositions before a
ruling on the motion for class certification. We will be prejudiced in our presentation to the Court
on the class certification issue if we are not permitted to take supplemental depositions.

        Plaintiffs respond in two ways: First they say that, at the class certification stage,
Defendants will have no opportunity to use any information that they might obtain from
supplemental depositions. But that assertion is demonstrably false. At a minimum, Defendants
can use such information in their presentation at any hearing before this Court on the motion for
class certification. Moreover, if this Court determines that it would be useful to have experts
appear at such a hearing, Plaintiffs’ suggestion that Defendants could examine them on the new
material for the first time without the benefit of a prior deposition is utterly unpersuasive.

        Second, Plaintiffs argue that supplemental depositions will be unduly costly. This position
is ironic indeed in light of the number of depositions that Plaintiffs have taken and propose to take.
Those depositions have cost Defendants vastly more money than would be involved in the
supplement depositions that are being requested. Moreover, it was Plaintiffs who decided to
engage two experts and to have them file rebuttal reports totaling nearly 250 pages and containing
new analyses, calculations, and arguments. Perhaps most importantly, Plaintiffs are seeking
billions of dollars in damages. The costs of two supplemental depositions are minimal in
comparison to the damages that Plaintiffs are seeking in this case.

        In this connection, Defendants would note that each deposition would take less than one
day. If the Court deems it appropriate, Defendants are willing to limit each deposition regarding
the rebuttal expert reports to six hours. This should not pose any significant burden on Plaintiffs.
By contrast, as noted above, Defendants will be significantly prejudiced if they are denied the
opportunity to conduct depositions of the new material in the rebuttal reports of Elhauge and
Economides.

       For all these reasons, Defendants respectfully submit that this Court should permit
supplemental depositions of Elhauge and Economides not to exceed six hours per deposition.




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Dated: September 8, 2022                     Respectfully submitted,

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